               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
       v.                                   )       Case No:    17-00004-REL-01
                                            )
JASON D. GERICKE,                           )
                                            )
                      Defendant.            )

                                   DETENTION ORDER

       On January 12, 2017, I held a detention hearing.     I find by a preponderance of

the evidence that Defendant poses a risk of flight and that no single condition of release

or combination of conditions of release can reasonably assure the appearance of

Defendant as required.     In addition, I find by clear and convincing evidence that

Defendant poses a danger to the community and that no single condition of release or

combination of conditions of release will reasonably assure the safety of the community.

I.     BACKGROUND

       On January 10, 2017, a criminal complaint was filed charging Defendant with one

count of being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1)

and 924(a)(2). Defendant appeared before me for a first appearance that same date.

Counsel for the government filed a motion for a detention hearing and a motion to

continue the hearing. Those motions were granted, and Defendant was remanded to the

custody of the United States Marshal pending the hearing.

       A detention hearing was held on January 12, 2017.          Defendant appeared in




     Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 1 of 6
person, represented by appointed counsel Carie Allen. The government was represented

by Assistant United States Attorney Courtney Pratten. The parties stipulated that the

court consider the information in the Pretrial Services Report of Probation Officer Tara

Westerhof as the testimony she would give, under oath, if called as a witness.         I took

judicial notice of the record created during the preliminary examination.       No additional

evidence was presented.

II.    FINDINGS OF FACT

       On the basis of the information contained in the Pretrial Services Report and

testimony adduced from Special Agent Harold Lett, I find that:

       1.      Defendant, 45, has resided in the Kansas City area since 2008. He reported

living with his mother an step-father for approximately one year; Defendant’s mother,

however, stated Defendant has not stayed there since summer. Defendant’s mother

further stated he often stays with his girlfriend and her parents.

       2.      Defendant has been married and divorced once.            He is currently in a

significant relationship with his girlfriend and is raising her child as his own.

       3.      Defendant advised he is currently between jobs, but is employed through

the union as a heavy equipment operator. He reported last working on December 31,

2016 and was to start his next job on January 14, 2017. Defendant has been with the

union since 2008.

       4.      Defendant reported a history of epilepsy. He indicated he was diagnosed

with ADHD and depression in 2012, but is no longer taking prescription medication. He



                                              2




      Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 2 of 6
advised he had previous thoughts of suicide (five years ago), but noted nothing recently.

        5.     Defendant reported using marijuana weekly, and last did so one day ago.

He uses methamphetamine daily and last did so one day ago.          Defendant also indicated a

history of sporadic cocaine usage, and last used the drug one year ago.

        6.     Defendant=s criminal history is comprised primarily of drug-related

offenses, including four felony convictions.       He incurred a variety of violations while on

supervised release. Defendant has an active warrant.

        7.     The instant alleged offense involves Defendant driving a stolen vehicle,

inside which a firearm was laying on the driver’s seat in plain view.         The firearm was

loaded with six rounds of ammunition.          In addition to the firearm, law enforcement

found a set of digital scales, two baggies containing methamphetamine and a small bag a

marijuana. Defendant admitted to law enforcement that the firearm and narcotics were

his and stated he sold narcotics within the past week. He further admitted he knew he

was prohibited from possessing a firearm.

III.    CONCLUSIONS

        I find by a preponderance of the evidence that no single condition of release or

combination of conditions of release will reasonably assure the appearance of Defendant

as required. Defendant is charged with being a felon in possession of a firearm and

faces significant penalties if convicted.   He has a history of substance abuse and has not

had a stable residence.   Defendant also has a history of failing to appear and an active

warrant.



                                               3




       Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 3 of 6
        In addition, I find by clear and convincing evidence that no single condition of

release or combination of conditions of release will reasonably assure the safety of the

community.      As stated above, Defendant is charged with being a felon in possession of a

firearm. The instant alleged offense involves Defendant driving a stolen vehicle, inside

which a firearm was laying on the driver’s seat in plain view. The firearm was loaded

with six rounds of ammunition.     In addition to the firearm, law enforcement found a set

of digital scales, two baggies containing methamphetamine and a small bag a marijuana.

Defendant admitted to law enforcement that the firearm and narcotics were his and stated

he sold narcotics within the past week.       Defendant=s criminal history is comprised of

drug-related offenses, including four felony convictions, and he has not performed well

on supervision.    Defendant has a history of substance abuse.   It is, therefore

        ORDERED that Defendant be committed to the custody of the Attorney General

or his authorized representative for detention pending grand jury action and, if an

indictment is returned, pending trial.   It is further

        ORDERED that Defendant be confined in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody

pending appeal.    It is further

        ORDERED that the Attorney General or his authorized representative ensure that

Defendant is afforded reasonable opportunity for private consultation with his counsel.

It is further

        ORDERED that, on order of a court in the Western District of Missouri, the



                                               4




      Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 4 of 6
person in charge of the corrections facility where Defendant is confined deliver

Defendant to a United States Marshal for his appearance in connection with a court

proceeding.   It is further

       ORDERED that, upon receipt of written consent from counsel for the United

States and counsel for the defendant, the United States Marshal is authorized to

temporarily transfer custody of the defendant to a federal law enforcement agency for the

purpose of furthering a legitimate law enforcement purpose or investigation.     If custody

of the defendant is temporarily transferred to a federal law enforcement agency pursuant

to this authority, then federal law enforcement agents of that agency shall be present with

the defendant at all times. Agents of the federal law enforcement agency to whom

temporary custody of the defendant is transferred shall be responsible for the safe and

secure custody of the defendant, as well as the defendant’s well-being while in the

temporary custody of that federal law enforcement agency.

       The defendant, whose custody is temporarily transferred pursuant to this

authority, shall remain in the United States Courthouse, 400 East 9th Street, Kansas City,

Missouri, shall not be taken to another location, and shall be returned by the federal law

enforcement agency to the United States Marshals Service cell block no later than 5:00

p.m. on the day of the temporary transfer.


                                                 /s/ Robert E. Larsen
                                              ROBERT E. LARSEN
                                              United States Magistrate Judge

Kansas City, Missouri

                                             5




      Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 5 of 6
January 17, 2017




                                   6




     Case 4:17-mj-00004-REL Document 10 Filed 01/18/17 Page 6 of 6
